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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------x
SECURITIES AND EXCHANGE COMMISSION,                                     :
                                                                        :
                                             Plaintiff,                 :   No. 19 Civ. 10832 (AT) (SN)
                                                                        :
                           - against -                                  :   ECF Case
                                                                        :
RIPPLE LABS, INC., BRADLEY GARLINGHOUSE, :
And CHRISTIAN A. LARSEN                                                 :
                                                                        :
                                             Defendants.                :
                                                                        :
----------------------------------------------------------------------- x

                  DECLARATION OF MARK R. SYLVESTER IN SUPPORT
                  OF PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

        I, Mark. R. Sylvester, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.       I am a member of the bar of the State of New York and of the United States District

Court for the Southern District of New York. I am employed by Plaintiff Securities and Exchange

Commission (the “SEC”) in its New York Regional Office.

        2.       I have personal knowledge of the facts and circumstances of the case. As counsel

representing the SEC, I reviewed information and documents obtained by the SEC during its

investigation and litigation of this matter, including documents described herein, and information

provided to me by members of the SEC staff.

        3.       I am submitting this Declaration to put forth exhibits in support of the

SEC’s motion for summary judgment against Defendants Ripple Labs, Inc., Bradley Garlinghouse,

and Christian A Larsen.
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          4.     Attached hereto are true and correct copies of the following documents or excerpts
  thereof:


Exhibit                 Document Description                                    Bates

PX 201    Answer of Bradley Garlinghouse to First Amended       N/A
          Complaint

PX 202    Amended Expert Report of                              N/A

PX 203    Garlinghouse XRP Sales Spreadsheet                    GARL00000001-1

PX 204    Email chain dated May 7, 2017                                  0192958

PX 205    Email chain dated May 24, 2017                        RPLI_SEC 0623050

PX 206    Email chain dated December 18, 2018                   RPLI_SEC 0269649

PX 207    Email chain dated June 4, 2017                        RPLI_SEC 0623000

PX 208    Email chain dated June 7, 2017                        RPLI_SEC 0623011

PX 209    Email chain dated June 18, 2017                       RPLI_SEC 0622973

PX 210    Email chain dated July 8, 2017                        RPLI_SEC 1050593

PX 211    Master XRP Purchase Agreement with              ,     RPLI_SEC 0234056
          dated September 24, 2018

PX 212    Chart showing XRP sales to                  between   N/A
          2/20/2019 and 4/24/2019

PX 213    Email chain dated August 19, 2017                     RPLI_SEC 0622660

PX 214    Email chain dated August 21, 2017                     RPLI_SEC 0622656

PX 215    Board Minutes dated December 13, 2016                 RPLI_SEC 0046716

PX 216    Email chain dated August 27, 2017                     RPLI_SEC 0622629

PX 217    Email chain dated September 1, 2017                   RPLI_SEC 0622585

PX 218    Email chain dated February 26, 2013 with attachment   RPLI_SEC 0329804

PX 219    Email chain dated September 30, 2017                  RPLI_SEC 0622546

PX 220    Email chain dated October 7, 2017                     RPLI_SEC 0622374


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PX 221   Email dated February 24, 2013 with attachment        RPLI_SEC 0329828

PX 222   Email chain dated October 20, 2017                   RPLI_SEC 0622392

PX 223   Email chain dated November 20, 2017                  RPLI_SEC 0622320

PX 224   Email chain dated December 5, 2017                   RPLI_SEC 0642929

PX 225   Email chain dated December 5, 2017                   RPLI_SEC 0622178

PX 226   Email chain dated December 5, 2017                   RPLI_SEC 1050077

PX 227   Email chain dated December 11, 2017                        0236916

PX 228   Email chain dated January 3, 2018                    RPLI_SEC 1049162

PX 229   Email chain dated January 6, 2018                    RPLI_SEC 0010589

PX 230   Email chain dated January 12, 2018                   RPLI_SEC 0041066

PX 231   Email dated January 12, 2018                         RPLI_SEC 0041067

PX 232   Email dated January 14, 2018                         RPLI_SEC 1048402

PX 233   Email dated December 17, 2019 with attachments       RPLI_SEC 0931808

PX 234   Email chain dated November 18, 2018                  RPLI_SEC 0262212

PX 235   Presentation dated November 2018                     RPLI_SEC 0262215

PX 236   Email chain dated May 1, 2018                              0134361

PX 237   Email chain dated March 7, 2018                      RPLI_SEC 0524268

PX 238   Expert Report of                                     N/A

PX 239   Email chain dated April 11, 2016                     RPLI_SEC 0307779

PX 240   Email chain dated June 22, 2020                      RPLI_SEC 0503904

PX 241   Transcript of speech by William A. Hinman, dated     N/A
         June 24, 2018, retrieved through SEC.gov

PX 242   Email chain dated February 2, 2013 with attachment   RPLI_SEC 0287876

PX 243   Email dated November 8, 2012 with attachments        RPLI_SEC 0099462

PX 244   Email chain dated May 26, 2014                       RPLI_SEC 0057498


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PX 245   Email dated September 18, 2017 with attachment        RPLI_SEC 1002117

PX 246   Memo from Counsel re: Analysis of Whether XRP is a    RPLI_SEC 1002118
         Security, dated February 27, 2015

PX 247   Email chain dated July 28, 2015 with attachments      RPLI_SEC 0287556

PX 248   [Reserved]

PX 249   Email chain dated October 30, 2014                    RPLI_SEC 0199556

PX 250   Email chain dated October 31, 2016                    RPLI_SEC 0761766

PX 251   Email chain dated January 3, 2017                     RPLI_SEC 0908880

PX 252   Email chain dated March 11, 2017                      RPLI_SEC 0270740

PX 253   Email chain dated May 2, 2017                         RPLI_SEC 0762228

PX 254   Email chain dated April 10, 2017                      RPLI_SEC 0083483

PX 255   Email chain dated June 16, 2018                       RPLI_SEC 0909079

PX 256   Preservation Notice, dated April 13, 2018             RPLI_SEC 0304602

PX 257   Email dated June 8, 2018                              RPLI_SEC 0915756

PX 258   Deposition of William Hinman                          N/A

PX 259   Presentation on Target Markets for XRP                RPLI_SEC 0733073

PX 260   Email dated August 16, 2018 with attachment           RPLI_SEC 0431296

PX 261   Email dated September 4, 2018 with attachment         RPLI_SEC 0431104

PX 262   Email chain dated October 19, 2018                    RPLI_SEC 0766857

PX 263   Texts dated November 15, 2018                         SEC-LIT-EPROD-001462264

PX 264   Email dated December 21, 2018                         RPLI_SEC 0923237

PX 265   Presentation dated May 2013                           RPLI_SEC 0016810

PX 266   Email chain dated October 12, 2015 with attachment    RPLI_SEC 0082311

PX 267   Article titled Liquidity and Global Markets 101, by   RPLI_SEC 0807783
         Breanne Madigan



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PX 268   Email dated June 27, 2014                             RPLI_SEC 0957433

PX 269   Email chain dated November 29, 2017                   RPLI_SEC 0042111

PX 270   Email chain dated November 20, 2019                   RPLI_SEC 0599155

PX 271   Email chain dated November 27, 2017                   N/A

PX 272   Email chain dated April 9, 2020                       RPLI_SEC 0521430

PX 273   Email chain dated April 30, 2014                      RPLI_SEC 0011971

PX 274   Email chain dated December 16, 2016                   RPLI_SEC 0763300

PX 275   Email chain dated December 18, 2016                   RPLI_SEC 0763292

PX 276   Email chain dated May 9, 2017                         RPLI_SEC 0509562

PX 277   Email chain dated October 18, 2016                    GSR00000356

PX 278   Email chain dated October 11, 2016                    GSR00001999

PX 279   Chat dated May 28, 2020                               RPLI_SEC 1077339

PX 280   Email chain dated December 23, 2015                   RPLI_SEC 0259410

PX 281   Email chain dated July 11, 2014                       RPLI_SEC 0957364

PX 282   Master XRP Purchase and Custody Agreement with        RPLI_SEC 0188059
                  Pte Ltd, dated June 10, 2017

PX 283   Master XRP Purchase Agreement with                    RPLI_SEC 0373425
                     , dated October 12, 2017

PX 284   Master XRP Purchase Agreement with                    RPLI_SEC 0208928
           , dated February 22, 2018

PX 285   Master XRP Purchase Agreement with                    RPLI_SEC 0233556
                  , dated August 6, 2018

PX 286   Ripple Currency Wholesale Sales Order with Bitstamp   RPLI_SEC 0329661
         D.O.O., dated March 6, 2013

PX 287   Ripple Currency Wholesale Sales Order with            RPLI_SEC 0891636
                     dated April 25, 2014

PX 288   Ripple Currency Wholesale Sales Invoice with          RPLI_SEC 0891241
                                , dated January 30, 2015


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PX 289   Ripple Currency Purchase Letter of Intent with           RPLI_SEC 0891065
                             ., dated July 21, 2014

PX 290   Ripple Currency Purchase Letter of Intent with           RPLI_ SEC 0304133
                          ., dated July 21, 2014

PX 291   Ripple Currency Purchase Letter of Intent with           RPLI_SEC 0676720
                        dated July 14, 2014

PX 292   Email withheld for privilege, with attachments           RPLI_SEC 0965530

PX 293   Email chain dated December 3, 2014                       RPLI_SEC 0052953

PX 294   Ripple Currency Purchase Letter of Intent with           RPLI_SEC 0891070
                                 ., dated May 29, 2015

PX 295   Ripple Currency Wholesale Sales Invoice with             RPLI_SEC 0609706
                                ., dated June 26, 2015

PX 296   XRP II, LLC, Account No. *7564 (9/15/2014 -              N/A
         1/29/2021)

PX 297   Email chain dated August 1, 2013                         RPLI_SEC 0328631

PX 298   Email chain dated October 29, 2013                       RPLI_SEC 0328194

PX 299   Ripple Currency Purchase Letter of Intent with           RPLI_SEC 0890994
                          ., dated July 21, 2014

PX 300   Summary of XRP Purchase with                             RPLI_SEC 0000626
              , dated June 9, 2016

PX 301   Summary of XRP Purchase by               Pte Ltd.,       RPLI_SEC 0609541
         dated July 12, 2016

PX 302   Master XRP Purchase Agreement with                       RPLI_SEC 0233556
                  , dated August 6, 2018

PX 303   Summary of XRP Purchase by                           ,   SEC-           -E-0000672
         dated August 8, 2018

PX 304   Master XRP Purchase Agreement with                       RPLI_SEC 0208928
            dated February 22, 2018

PX 305   Summary of XRP Purchase by                       ,       RPLI_SEC 0172196
         dated April 2, 2018



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PX 306   Summary of XRP Purchase by                              RPLI_SEC 0000608
         dated June 20, 2017

PX 307   Summary of XRP Purchase by                    y,        RPLI_SEC 0001027
         dated February 12, 2018

PX 308   Email chain dated August 3, 2017                        RPLI_SEC 0108629

PX 309   Email chain dated September 14, 2017                    RPLI_SEC 0926193

PX 310               letter agreement, dated September 18,       RPLI_SEC 0389883
         2017

PX 311   Email chain dated August 2, 2018                        RPLI_SEC 0131475

PX 312   Private Placement Memorandum with                       SEC-           -E-0000355
                 dated August 3, 2018

PX 313   Chat dated August 2, 2018 through February 20, 2021     SEC-           -E-0000576

PX 314   Subscription Agreement with                   , dated SEC-             -E-0000111
         August 6, 2018

PX 315   Chat, undated                                           SEC-           -E-0000635

PX 316   XRP Receipt from                    , dated August 9,   SEC-           -E-0000715
         2018

PX 317   Email chain dated August 9, 2018                        RPLI_SEC 0221269

PX 318   Email chain dated August 8, 2018                        RPLI_SEC 0221297

PX 319   Email chain dated August 20, 2018                       RPLI_SEC 0200421

PX 320   Email chain dated August 29, 2018                       RPLI_SEC 0221255

PX 321   Email dated September 14, 2018                          RPLI_SEC 0261049

PX 322   Email dated September 14, 2018                          RPLI_SEC 0053327

PX 323   Email dated March 26, 2020                              RPLI_SEC 0492574

PX 324   Letter Agreement with                       , dated     RPLI_SEC 0000861
         September 18, 2017

PX 325   Summary of XRP Purchase by                          ,   RPLI_SEC 0577050
         dated September 27, 2017



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PX 326   Summary of XRP Purchase by                         ,   RPLI_SEC 0000858
         dated September 28, 2017

PX 327   Summary of XRP Purchase by                         ,   RPLI_SEC 0000860
         dated September 29, 2017

PX 328   Email chain dated October 12, 2017                     RPLI_SEC 0237627

PX 329   Master XRP Commitment to Sell Agreement with                       SEC00013519
                            , dated May 26, 2020

PX 330   Summary of XRP Commitment by                                       SEC00017941
         Corporation, dated May 26, 2020

PX 331   XRP Receipt of             Corporation, dated May      RPLI_SEC 0583587
         27, 2020

PX 332   Email dated August 24, 2020                            RPLI_SEC 0776134

PX 333   Redacted email with attachment                         RPLI_SEC 0776136

PX 334   Invoice to           Corporation dated August 24,      RPLI_SEC 0776135
         2020

PX 335   Email chain dated February 28, 2018                    RPLI_SEC 0393676

PX 336   Master XRP Commitment to Sell Agreement with           RPLI SEC 0300993
                     , dated May 1, 2020

PX 337   Summary of XRP Commitment with              Limited,   SEC-UKFCA-E-0001412
         dated June 1, 2020

PX 338   XRP Receipt of         Limited, dated May 29, 2020     RPLI_SEC 0585417

PX 339   Invoice to       Limited, dated June 8, 2020           RPLI_SEC 0584845

PX 340   Receivers Product Story, H2 2020, dated June 16,       RPLI_SEC 0682567
         2020

PX 341   Transcription of Recording of RippleNet Sender         PLI_SEC 1141117
         Product Story, dated September 12, 20201

PX 342   Email chain dated June 15, 2020                        RPLI_SEC 0582537

PX 343   Email chain dated September 20, 2020                   RPLI_SEC 0521044

PX 344   Email chain dated October 24, 2013                     RPLI_SEC 0038399


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PX 345   Email chain dated January 19, 2018                  RPLI_SEC 0200451

PX 346   Email dated December 21, 2017 with attachments      RPLI_SEC 0868369

PX 347   2019 Annual Plan, dated December 2018               RPLI_SEC 0874176

PX 348   Financial Forecast presentation, undated            RPLI_SEC 0876907

PX 349   xRapid Market Maker Status Update, dated March      RPLI_SEC 0078831
         2019

PX 350   Digging Deeper with Startups: Q&A with Chris        N/A
         Larsen, dated April 14, 2014

PX 351   Email chain dated March 3, 2017                     RPLI_SEC 0352731

PX 352   Email chain dated August 6, 2020                    LARSEN-SEC-LIT-00002717

PX 353   Email chain dated April 30, 2014                    RPLI_SEC 0011977

PX 354   Email dated July 2, 2016                            RPLI_SEC 0057312

PX 355   Email chain dated June 5, 2018                      RPLI_SEC 0222998

PX 356   Email chain dated October 8, 2013 with attachment   RPLI_SEC 0400676

PX 357   Email dated October 23, 2018 with attachment        RPLI_SEC 0235399

PX 358   Email chain dated December 14, 2017                 N/A

PX 359   Email chain dated February 18, 2017                 RPLI_SEC 0067047

PX 360   Email chain dated November 26, 2014                       _0001718

PX 361   Email chain dated November 16, 2012                 RPLI_SEC 0344746

PX 362   Email chain dated April 11, 2013                    RPLI_SEC 0344626

PX 363   Email dated March 9, 2014                           RPLI_SEC 0038289

PX 364   Email chain dated August 18, 2012 with attachment   LARSEN-SEC-LIT-00000116

PX 365   The Ripple Protocol: A Deep Dive for Finance        RPLI_SEC 0539465
         Professionals, dated September 2014

PX 366   Email dated September 12, 2016                      RPLI_SEC 0056934

PX 367   Email chain dated April 22, 2015                    RPLI_SEC 0038154


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PX 368   Email chain dated September 25, 2014               RPLI_SEC 0199575

PX 369   Email chain dated April 22, 2016                   RPLI_SEC 0038152

PX 370   Email chain dated May 17, 2017                     GSR00006143

PX 371   Email chain dated December 6, 2018                       0015662

PX 372   Email dated December 2, 2015                       RPLI_SEC 0042044

PX 373   Email chain dated March 28, 2016                   RPLI_SEC 0019246

PX 374   Email chain dated October 16, 2016                 RPLI_SEC 0050281

PX 375   Email dated December 16, 2017                      RPLI_SEC 0573139

PX 376   Email chain dated October 25, 2019                 RPLI_SEC 0478676

PX 377   Email dated March 1, 2018 with attachments         RPLI_SEC 0259757

PX 378   Email chain dated April 9, 2017                    RPLI_SEC 0287802

PX 379   Email chain dated April 27, 2017                   RPLI_SEC 0624385

PX 380   Email chain dated November 2, 2016                 RPLI_SEC 0353551

PX 381   Email chain dated February 22, 2017                N/A

PX 382   Email chain dated April 10, 2016                   RPLI_SEC 0307809

PX 383   Email chain dated May 24, 2016 with attachment     RPLI_SEC 0354101

PX 384   Information on Larsen XRP Sales between 2012 and   LARSEN_00000102
         2020

PX 385   Email chain dated November 5, 2015                 LARSEN_NAT _00000008

PX 386   Email chain dated December 15, 2015                RPLI_SEC 0208680

PX 387   Email chain dated April 10, 2016                   RPLI_SEC 0205600

PX 388   Email chain dated February 18, 2017                LARSEN_NAT _00000013

PX 389   Email chain dated May 5, 2017                      GSR00001300

PX 390   Email chain dated August 23, 2017                  LARSEN-SEC-LIT-00004217

PX 391   Text messages dated July 24, 2020                  N/A


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PX 392    Email chain dated August 3, 2016                           RPLI_SEC 0010401

PX 393    Chris Larsen Response to Plaintiff’s First Set of          N/A
          Interrogatories

PX 394    Chris Larsen Bitstamp USA Account History                  BITSTAMP USA_000071

PX 395    Email chain dated February 28, 2018                        RPLI_SEC 0325639

PX 396    Email chain dated August 31, 2018                          RPLI_SEC 0949298

PX 397    Transcript of Recording of Weekly Meeting, dated           RPLI_SEC 1100522
          February 26, 2018

PX 398    [Reserved]

PX 399    Email chain dated June 12, 2015                            RPLI_SEC 0077378

PX 400    Email chain dated June 25, 2019                            RPLI_SEC 0235679

PX 540    Article dated February 28, 2020                            N/A

PX 545    Email chain dated November 18, 2017                        RPLI_SEC 0041207


  I declare under penalty of perjury that the foregoing is true and correct.

  Dated: New York, New York
         September 13, 2022


                                                  _______Mark R. Sylvester_________
                                                        Mark R. Sylvester




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